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                                                                   The Honorable Ricardo S. Martinez
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 8                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
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     STEVEN BENANAV, MONICA KOWALSKI,
10
     and KATHERINE THOMAS, on behalf of
     themselves and all others similarly situated,        No. 2:20-cv-00421-RSM
11
                                                          AMENDED CLASS ACTION
12                         Plaintiffs,
                                                          COMPLAINT
13                  vs.
                                                          DEMAND FOR JURY TRIAL
14
     HEALTHY PAWS PET INSURANCE LLC,
15
                           Defendant.
16

17

18
            Plaintiffs Steven Benanav, Monica Kowalski, and Katherine Thomas (“Plaintiffs”), on
19
     behalf of themselves and all others similarly situated, bring this Complaint against Defendant
20
     Healthy Paws Pet Insurance (“Healthy Paws” or “Defendant”), and state as follows:
21
                                    I. NATURE OF THE ACTION
22
            1.      This class action is brought on behalf of Plaintiffs and similarly situated pet
23
     insurance policyholders who were deceived by Healthy Paws regarding the true costs of
24
     Healthy Paws’ pet insurance.
25
            2.      Healthy Paws is an insurance provider which markets and administers pet
26
     insurance policies to consumers.
27
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 1           3.      Although Healthy Paws refers to itself as “Healthy Paws Pet Insurance,” it is not
 2   an insurance company. Instead, Healthy Paws markets and administers insurance for
 3   companies, including ACE American Insurance Company (“ACE”), Indemnity Insurance
 4   Company of North America (“Indemnity”), and Westchester Fire Insurance Company
 5   (“Westchester”).
 6           4.      ACE, Indemnity, and Westchester are three subsidiaries of the same parent
 7   company, CHUBB Ltd. Healthy Paws began marketing and administering policies for these
 8   companies according to a “General Agency Agreement” dated October 1, 2012.
 9           5.      According to the General Agency Agreement, the insurers provided Healthy
10   Paws policies, and Healthy Paws took responsibility for selling and administering the policies
11   through advertising, website development, policy quoting, issuance, servicing, and claims
12   adjudication.
13           6.      Importantly, the policies all contained the same terms regarding premium
14   increases. The policies provided that rates would only increase “to reflect changes in the costs
15   of veterinary medicine.” In other words, consumers who purchased Healthy Paws pet insurance
16   expected that their premium would only increase as the costs of veterinary medicine increased.
17           7.      Healthy Paws promised in its marketing materials and policy documents that
18   premiums would remain low throughout the life of consumers’ pets. Nowhere did Healthy
19   Paws warn that premiums could increase based on factors other than the costs of veterinary
20   care.
21           8.      After purchasing Healthy Paws pet insurance, however, consumers found that
22   their policy premiums increased drastically year by year—at a rate far outpacing the general
23   costs of veterinary medicine. For example, in the seven years Plaintiff Benanav owned his
24   Healthy Paws policy, his premiums increased over 300%.
25

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 1          9.      Consumers eventually learned that Healthy Paws’ marketing regarding the
 2   premiums was false; Healthy Paws increased premiums for reasons completely unrelated to the
 3   cost of veterinary care, including a pet’s age.
 4          10.     Nowhere in Healthy Paws’ marketing materials, website, Policies, or sample
 5   policies does Healthy Paws warn consumers that premiums may increase due to factors like pet
 6   age.
 7          11.     Healthy Paws’ bait-and-switch lured consumers into purchasing Policies based
 8   on the false promise of low monthly premiums that would increase only modestly for “all
 9   consumers” to “reflect the increased costs of veterinary care.” Then, only when consumers
10   were locked in did the Policy premiums increase exorbitantly based on factors other than the
11   “costs of veterinary care.” For those consumers who wanted to maintain pet insurance, many
12   had no choice but to continue paying Healthy Paws’ exorbitant premiums because many pets
13   age out of competing pet insurance options.
14          12.     Had consumers known of the surprise, age-related increases in monthly
15   premiums, they never would have signed up for Healthy Paws insurance.
16          13.     Plaintiffs seek to represent a class of consumers who own or owned a Policy and
17   were deceived by Healthy Paws’ marketing. Plaintiffs and class members have been injured by
18   Healthy Paws’ practices and seek actual damages, statutory damages, punitive damages,
19   restitution and an injunction to prevent Healthy Paws from continuing to engage in its illegal
20   practices described herein.
21                                            II. PARTIES
22          14.     Plaintiff Benanav is a citizen and resident of Los Angeles, California. Plaintiff
23   Benanav purchased a Healthy Paws insurance policy which became effective March 27, 2012.
24   A copy of Plaintiff Benanav’s policy is attached hereto as Exhibit A. Over the years, Plaintiff’s
25   policy has continued to bear the Healthy Paws Pet Insurance brand name but has been
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 1   underwritten by various insurers including Markel American Insurance Company (2012-2013),
 2   Ace American (2013-2019), and Westchester Fire Insurance Company (starting in 2020-).
 3           15.    Plaintiff Thomas is a citizen and resident of New Jersey. Plaintiff Thomas
 4   purchased a pet insurance policy through Healthy Paws in 2014. A copy of Plaintiff Thomas’
 5   policy is attached as Exhibit B. Plaintiff Thomas’s policy has been continuously administered
 6   by Healthy Paws and was issued by ACE.
 7           16.    Plaintiff Kowalski is a citizen and resident of Illinois. Plaintiff Kowalski
 8   purchased a Healthy Paws insurance policy which became effective in 2011. A copy of
 9   Plaintiff Kowalski’s policy is attached hereto as Exhibit C. Plaintiff Kowalski’s policy has
10   been continuously administered by Healthy Paws but has been underwritten by different
11   insurers, including Markel American Insurance Company (2012-2013) and ACE (2013-).
12           17.    Defendant Healthy Paws administers pet insurance policies and is responsible
13   for sales and marketing; website development and maintenance; policy quoting, issuance and
14   servicing; and claims adjudication. Healthy Paws maintains its principal place of business in
15   Bellevue, Washington. Beginning in 2010, Healthy Paws issued pet insurance policies in the
16   United States using standardized contracts.
17                                III. JURISDICTION AND VENUE
18           18.    This Court has jurisdiction over Plaintiffs’ claims pursuant to 28 U.S.C.
19   § 1332(d) because this is a class action with diversity between at least one class member
20   (including Plaintiff) and one Defendant and the aggregate amount of damages exceeds
21   $5,000,000. This action therefore falls within the original jurisdiction of the federal courts
22   pursuant to the Class Action Fairness Act, 28 U.S.C § 1332(d).
23           19.    Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391 because a
24   substantial portion of the events giving rise to Plaintiffs’ causes of action occurred in this
25   District.
26

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                                  IV. FACTUAL ALLEGATIONS
 1
     A.     Background: The Pet Insurance Industry Exploits Our Love for Pets
 2
            20.     An astounding 67% of American households, or 85 million families, own a pet.
 3
            21.     The pet industry—once limited to Milkbones and kibble—has exploded in
 4
     popularity with several corporations beginning in recent years to market and sell pet-oriented
 5
     products and services. Pet daycares, pet hotels, and even pet spas have begun to pop up with
 6
     regularity.
 7
            22.     More and more, Americans regard their pets as members of their family and
 8
     more and more, Americans are demanding similar services for their pets as they do for their
 9
     family members—and that includes health insurance.
10
            23.     Pet health insurance companies, including Healthy Paws, have latched onto pet
11
     owners’ love of their pets, referring to their customers and policyholders as “pet parents.”
12
            24.     Pet health insurance has been marketed as a way to help defray rising veterinary
13
     expenses and avoid what has been termed as “economic euthanasia” — the necessity of putting
14
     a pet down because the owner can’t afford treatment.
15
            25.     More than two million pets in the United States and Canada were insured at the
16
     end of 2017 according to the North American Pet Health Insurance Association.
17
            26.     But the pet insurance market is rife with abuse.
18
            27.     The director of insurance with the Consumer Federation of America recently
19
     commented that the purchase of pet insurance is “often motivated by a combination of love and
20
     fear” rendering the buyer particularly vulnerable.
21
            28.     Wide variations in pet insurance policies—what they cover, what they exclude,
22
     and what they cost—does not make the purchasing decision any easier for consumers.
23
            29.     Of course, the decision whether to buy or forego pet insurance is ultimately an
24
     economic calculation premised on a litany of unknowns: the buyer must calculate the cost of a
25
     pet’s future veterinary care as compared to the cost of monthly premiums.
26

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 1           30.     Because most pet insurance policies exclude pre-existing conditions and require
 2   pets to undergo a veterinary exam prior to enrollment, buyers of health insurance are forced to
 3   evaluate the risk that a healthy pet becomes ill and what the veterinary care for any future
 4   hypothetical medical condition might cost.
 5           31.     The cost-benefit analysis of pet insurance is necessarily dictated by the cost of
 6   monthly premiums.
 7           32.     Many consumers, when presented with the possibility of securing the most
 8   advanced veterinary care for their pet in the event of a future illness for only $30 or $40 per
 9   month, believe that pet insurance is a good deal. And indeed, if the monthly premiums stayed
10   that low for the duration of their pet’s life, it might be.
11           33.     But all too often, in a cruel twist, pet insurance companies drastically increase
12   the cost of the monthly premiums just when consumers need the insurance most: as their pets
13   age. Suddenly, and as happened to Plaintiffs, monthly premiums may skyrocket to hundreds of
14   dollars per month, thus drastically affecting the cost-benefit calculation.
15           34.     While some pet insurance policies may explicitly allow monthly premiums to
16   increase based on a pet’s age—thus warning consumers from the outset of the potential for a
17   spike down the road—Healthy Paws’ policies do not.
18   B.      Healthy Paws Pet Insurance
19           35.     Healthy Paws, while not itself an insurer, administers pet insurance policies.
20   Indeed, all consumer interactions pertaining to the Policies go through Healthy Paws. Healthy
21   Paws provides quotes for the Policies; consumers purchase Policies through the Healthy Paws
22   website; Healthy Paws provides consumers with all of the relevant paperwork; the Policies
23   themselves prominently display a Healthy Paws logo at the top; consumers submit claims
24   through Healthy Paws; Healthy Paws informs consumers of annual increases to the monthly
25   premiums; and any problems consumers face with their Policies are directed through Healthy
26   Paws’ customer service.
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 1          36.     Since 2010, Healthy Paws has administered more than 450,000 pet insurance
 2   policies in the United States. Its policies are underwritten by members of the Chubb Group.
 3          37.     Healthy Paws markets itself as the #1 Customer-Rated pet health insurance
 4   provider since 2013.
 5   C.     Healthy Paws’ Deceptive Marketing
 6          38.     On its website, Healthy Paws brags of altruistic motives: “With Healthy Paws,
 7   you can give you pet the best medical care possible . . . Everything we do is driven from our
 8   love of animals and our commitment to pet health.” Healthy Paws further boasts that its terms
 9   are part of an “easy-to-understand pet insurance plan.”
10          39.     As discussed below, however, Healthy Paws is motivated by greed more than
11   altruism, resulting in false marketing of its “easy-to-understand” terms.
12          40.     Throughout the class period, Healthy Paws’ website has consistently displayed
13   misrepresentations and omissions regarding its Policies. Specifically, Healthy Paws has never
14   informed consumers that monthly premiums will increase based on a pet’s age and instead
15   affirmatively misrepresents that premiums will only increase for all policyholders based on the
16   rising cost of veterinary care.
17          41.     Indeed, at the time Plaintiff Kowalski signed up for her policy, in 2011, Healthy
18   Paws stated in the Frequently Asked Questions page on its website:
19                  Will my premiums increase over the life of my pet?
20                  Due to the increasing cost of new technology and advances in
                    veterinary care, your rates will increase slightly each year. These
21                  slight increases provide you the opportunity to offer your pet the
                    best medical and diagnostic options available today. Keep in mind
22                  your rates will never go up to due to making claims. And all pet
                    insurance companies, no matter how they try to market their
23                  benefits, will raise rates to keep up with the rapidly rising cost of
24                  veterinary care.
            42.     Likewise, at the time Plaintiff Benanav and Plaintiff Thomas signed up for their
25
     policies, in 2012, and 2014 respectively, Healthy Paws stated in the Frequently Asked
26
     Questions page on its website:
27
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                    Will my premiums increase over the life of my pet?
 1
                            Due to the increasing cost of new technology and advances
 2                  in veterinary care, your rates will increase slightly each year. Our
                    plan has factored the expected increase in the cost of veterinary
 3                  care into your rates so that the annual premium increases are
                    manageable. These manageable annual increases provide you the
 4
                    opportunity to offer your pet the best medical and diagnostic
 5                  options available today.
                            Rest assured, we will never penalize you with higher rates
 6                  for making claims. It’s not your fault your pet is unlucky!
                            All pet insurance companies, no matter how they market
 7                  their benefits, will raise rates periodically to keep up with the
                    rapidly rising cost of veterinary care.
 8
            43.     The above representations are false. Rather than “slightly” increasing rates “due
 9
     to the increasing cost of . . . veterinary care,” Healthy Paws’ premiums increase dramatically
10
     based on other factors, such as the pet’s age.
11
            44.     Even today, Healthy Paws is not truthful regarding when premiums will
12
     increase. On the Frequently Asked Questions page on its website, Healthy Paws states:
13

14                  Will my premiums increase?
                    Due to the increasing cost of new technology and advances in
15                  veterinary and specialty care, your rates will likely increase to
                    align with the claim payouts of each state. These annual increases
16                  provide you the opportunity to offer your pet the best medical and
17                  diagnostic options available today. Premium increases are not
                    based on claim submissions.
18
                    Additional Actions Affecting Premiums
19
                             Change of address
20
                             Adding or removing pet(s)
21                           Changing coverage options (reimbursement or deductible
22                  levels)
                             Transfer of account ownership (if applied to new address)
23
                    For additional information please click here to see policy specific
24                  provisions related to this FAQ.
25          45.     Further, throughout the class period, Healthy Paws has posted a “Sample” policy
26   on its website. The Sample Policy is provided to all consumers who request a quote via a
27
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 1   prominent hyperlink. In addition, the Sample Policy is posted in numerous other places on the
 2   Healthy Paws website as well. At the bottom of the Healthy Paws webpage, the Sample Policy
 3   is posted under a link titled “View Our Policy.” A hyperlink to the Sample Policy is also posted
 4   in numerous places on Healthy Paws’ Frequently Asked Questions page.
 5          46.     The Sample Policy, attached as Exhibit D, is materially identical to the Policy
 6   shown on Exhibits A, B, and C, including the Policy language that Policy premiums may
 7   change “to reflect changes in the costs of veterinary medicine.” Nowhere on the Sample Policy
 8   does Healthy Paws state that it may increase premiums due to age, change of address,
 9   additional or fewer pets, changing coverage, and transfers of account ownership.
10          47.     In addition to posting the Sample Policy on its website, Healthy Paws sent
11   Plaintiffs each of their Policies. The Sample Policy and each of the Plaintiffs’ policies is
12   prominently branded with a Healthy Paws logo at the top.
13          48.     Each of the Plaintiffs’ Healthy Paws Policies contains the same
14   misrepresentation concerning monthly premiums:
15                  MONTHLY PREMIUM: Your monthly premium is set forth on
                    your declarations page. Monthly premiums may change for all
16                  policyholders to reflect changes in the costs of veterinary
                    medicine. We will notify you at least sixty (60) days in advance
17                  of such change.
18          49.     Thus, according to Healthy Paws, monthly premiums will increase only to cover
19   “changes in the costs of veterinary medicine.” Importantly, “changes in the costs of veterinary
20   medicine” is meant to reflect an industry-wide change in the costs of veterinary medicine, as
21   evidenced by the fact that the Policy specifies premiums may change for all policyholders.
22          50.     Healthy Paws never informs consumers that monthly premiums will increase
23   based on the pet’s age.
24

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     D.     Monthly Premiums on Healthy Paws’ Policies Increase Based on a Pet’s Age
 1
            51.     Notwithstanding Healthy Paws’ representations to the contrary, the monthly
 2
     premiums on Healthy Paws policies increase based on other factors besides the “changes in the
 3
     cost of veterinary medicine,” including the pet’s age.
 4
            52.     Indeed, the State of Washington’s Officer of the Insurance Commissioner
 5
     recently fined Healthy Paws’ underwriters, ACE and Indemnity, for numerous violations,
 6
     including for Healthy Paws’ conduct on their behalf. One such violation included Healthy
 7
     Paws’ practice of increasing premiums due to age: “Allowing Healthy Paws' producer to
 8
     increase the pet age factor [in calculating monthly premiums] contrary to policy language
 9
     indicating the factor would remain constant.”
10
            53.     The Commissioner further found that, despite language indicating the pet’s age
11
     would not be a factor in calculating monthly premiums, in practice, Healthy Paws and its
12
     underwriters “increased the age factor annually on the policy anniversary.”
13
            54.     The Insurance Commissioner of the State of Washington is not alone in pointing
14
     out that Defendants’ monthly premiums increase as pets age. Healthy Paws admitted to the
15
     practice in the New York Times.
16
            55.     In speaking with the New York Times, Rob Jackson, chief executive of Healthy
17
     Paws, apparently told the newspaper that a “pet’s age affects premiums at initial enrollment,
18
     and also as the pet ages.” See https://www.nytimes.com/2019/01/04/your-money/pet-
19
     insurance-policies.html (last accessed March 5, 2020) (emphasis added).
20
            56.     In fact, Healthy Paws apparently had previously misstated how a pet’s age
21
     affects premiums and had the New York Times correct the misstatement. A correction at the
22
     bottom of the article reads:
23
                    An earlier version of this article, using information supplied by
24
                    Healthy Paws Pet Insurance, misstated how a pet’s age affects
25                  premiums for the company’s policies. The pet’s age affects the
                    premium at the time of enrollment and as the pet gets older,
26                  not just at enrollment.
27
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     See id.
 1

 2             57.   The same was also recently confirmed by a Healthy Paws’ customer service

 3   representative’s response to a complaint posted on a public forum. In a recent complaint posted

 4   on the Better Business Bureau, one consumer complained:

 5                   When I signed my pet up for medical insurance back in 2012, I
                     went through and researched numerous companies before
 6                   selecting Healthy Paws. One of my major concerns at the time was
                     concerning rate increases. Since it would be difficult to switch
 7                   insurance companies should any conditions come up with my pet,
 8                   I wanted to have some assurances that costs would continue to be
                     manageable. I reached out to the company who provided me with
 9                   the following e-mail which indicated that any annual increases
                     would be "slight," "manageable," and "easy to budget." Recently I
10                   was informed by the company that my monthly insurance costs
                     would be rising from $73.39 to $129.76. I would argue that, by any
11
                     reasonable measure, that a 76.8% increase does not fit any of these
12                   terms.
     See https://www.bbb.org/us/wa/bellevue/profile/pet-insurance/healthy-paws-pet-insurance-llc-
13   1296-22528158/complaints#367541749 (last accessed March 5, 2020).
14             58.   In response a member of Healthy Paws’ customer service team responded:
15                   In accordance with the terms of the Pet Health Insurance Policy
16                   and the associated rating rules, monthly premiums may change for
                     all policyholders. Premiums are determined based on the rates and
17                   rating rules filed and approved within each state’s Department of
                     Insurance, which reflect the cost of treatment advances in
18                   veterinary medicine, your individual pet’s breed, gender, age,
                     and other factors, in addition to the overall claims experience
19
                     for the program within the region your pet resides.
20   See id.
21
               59.   In other words, Healthy Paws admits that a pet’s age affects its calculations of
22
     policyholders’ monthly premiums.
23
               60.   As a direct and proximate result of Healthy Paws’ misrepresentations and
24
     omissions, Plaintiffs and the Classes have been damaged, and those damages are continuing in
25
     nature.
26

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     E.     Plaintiffs Benanav
 1
            61.      In 2012, Plaintiff Benanav purchased a pet insurance policy for his dog, Mali.
 2
     The policy was issued by Markel American Insurance Company and marketed and
 3
     administered by Health Paws.
 4
            62.      When Plaintiff Benanav purchased the policy, Mali was five years old and in
 5
     good health.
 6
            63.      Plaintiff Benanav purchased a pet insurance policy in part to ensure he would be
 7
     able to cover the costs of Mali’s veterinary care as Mali aged.
 8
            64.      Plaintiff Benanav purchased the policy in reliance on Healthy Paws’
 9
     representations on its website, including that monthly premiums would not increase based on a
10
     pet’s age and instead would only increase for all policyholders based on the rising cost of
11
     veterinary care.
12
            65.      When Plaintiff Benanav signed up for Mali’s policy, the monthly premiums
13
     were $33.85 per month.
14
            66.      From 2013-2019, however, Plaintiff Benanav’s premiums increased
15
     dramatically.
16
            67.      In January of 2013, for example, Plaintiff Benanav paid a monthly premium of
17
     $33.85. However, by 2016, Plaintiff Benanav’s premium increased from $39.03 to $44.80. In
18
     2018, the monthly premium increased to $55.61. In 2019, the monthly premium increased to
19
     $69.67. In 2020, the monthly premium increased to a shocking $104.50.
20
            68.      Plaintiff Benanav’s premiums thus increased by over 300% from 2013 to 2020.
21
            69.      This change is substantially greater than the overall change in the costs of
22
     veterinary medicine during that time. According to the Nationwide Purdue Veterinary Price
23
     Index, 2019 update:
24
                     Based on more than more than 30.6 million pet health treatments
25
                     from January of 2009 through December of 2018 with a total value
26                   of $3.3 billion, the Nationwide | Purdue study shows that
                     veterinary pricing (what consumers actually paid for care, not the
27
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                    “list prices” at veterinary practices before any discounting)
 1
                    decreased in the recessionary and post-recessionary period of 2009
 2                  through 2014 by 3.6 percent. In 2015, a sharp recovery began.
                    Overall, veterinary pricing during the last four years, inclusive
 3                  (end of 2014 to the end of 2018), has increased by 21.1 percent,
                    offsetting the period of 2009 to 2014 when veterinary pricing was
 4                  effectively stagnant or negative.
 5   Available at http://nationwidedvm.com/wpcontent/uploads/2019/11/FINAL_Nationwide-
     Purdue_2019-Veterinary-Price-Index.pdf (emphasis added) (last accessed March 9, 2020).
 6
            70.     During the four-year period from the end of 2014 through the end of 2018, when
 7
     the overall costs of veterinary medicine rose 21.1% according to the Nationwide Purdue Index,
 8
     Plaintiff Benanav’s premiums increased from $33.62 to $55.61, a whopping 65.4%.
 9
            71.     And in the two years’ since, Plaintiff Benanav’s premiums have increased from
10
     $55.61 to $104.50, an additional 87%.
11
            72.     Mali is now 13 years old and Plaintiff Benanav cannot switch pet insurance
12
     providers because Mali has aged out of most policy offerings. Moreover, the underwriter and
13
     issuer for Plaintiff’s insurance policy has changed again, this time to Westchester. Westchester
14
     issued Plaintiff Benanav a policy that is materially the same as his previous policies, including
15
     the policies’ terms regarding premium changes.
16
            73.     In accordance with Healthy Paws’ representations, Plaintiff Benanav expected
17
     the monthly premiums on Mali’s policy to rise only slightly in line with inflation throughout
18
     the duration of the policy. Had Plaintiff Benanav known that the monthly premiums would
19
     drastically increase as Mali aged, he never would have signed up for the policy.
20
     F.     Plaintiff Thomas
21
            74.     On July 25, 2014, Plaintiff Thomas purchased a pet insurance policy marketed
22
     by Healthy Paws and issued by ACE. The policy was for her dog, Louie.
23
            75.     Plaintiff Thomas signed up for the Healthy Paws insurance policy in part to
24
     ensure she would be able to cover the costs of her dog’s veterinary care as he aged.
25

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 1          76.     Plaintiff Thomas purchased the policy in reliance on Healthy Paws’
 2   representations, including that monthly premiums would not increase based on a pet’s age and
 3   instead would only increase for all policyholders based on the rising cost of veterinary care.
 4          77.     When Plaintiff Thomas signed up for her policy, the monthly premiums were
 5   $40.61 per month.
 6          78.     In 2019, Plaintiff Thomas’ monthly premiums were $41.69.
 7          79.     In 2020, however, Plaintiff Thomas’ monthly premiums increased to $54.53.
 8          80.     Plaintiff Thomas’s premiums thus increased by over 30% in one year.
 9          81.     This change is substantially greater than the overall change in the costs of
10   veterinary medicine over the course of the year.
11          82.     In accordance with Healthy Paws’ misrepresentations and omissions and the
12   policy’s terms, Plaintiff Thomas expected the monthly premiums on her policy to rise only
13   slightly in line with inflation throughout the duration of the policy. Indeed, had Plaintiff
14   Thomas known that the monthly premiums would drastically increase as her dog aged, she
15   never would have signed up for the policy.
16   G.     Plaintiff Kowalski
17          83.     In 2011, Plaintiff Kowalski purchased a pet insurance policy marketed and
18   administered by Healthy Paws and issued by Markel American Insurance Company. Plaintiff
19   Kowalski purchased the policy for her dogs, Lola, Olive, and Jenks.
20          84.     On or about January 23, 2013, the underwriter and issuer for Plaintiff
21   Kowalski’s policy changed from Markel American Insurance Company to ACE.
22          85.     After Jenks passed away in 2015, in 2016, Plaintiff Kowalski purchased pet
23   insurance for her new dog, Tulip. The policy was marketed and administered by Healthy Paws
24   and issued by ACE.
25          86.     Plaintiff Kowalski signed up for insurance policy in part to ensure she would be
26   able to cover the costs of her dogs’ veterinary care as they aged.
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 1          87.     Plaintiff Kowalski purchased the policy in reliance on Healthy Paws’
 2   representations, including that monthly premiums would not increase based on a pet’s age and
 3   instead would only increase for all policyholders based on the rising cost of veterinary care.
 4          88.     When Plaintiff Kowalski signed up for her policy, the monthly premiums were
 5   $25.41 and $31.44 per month for Lola and Olive, respectively.
 6          89.     Over the years, as her dogs aged, Plaintiff Kowalski’s premiums drastically
 7   increased.
 8          90.     In 2019, Plaintiff Kowalski’s monthly premiums increased to $50.87 and $63.50
 9   per month for Lola and Olive, and by 2020 they increased to $69.18 and $86.36 per month,
10   respectively. Plaintiff Kowalski’s premiums thus increased by over 35% in one year. And,
11   since buying the policies in 2011, Plaintiff Kowalski’s premiums have increased by over 170%.
12          91.     This change is substantially greater than the overall change in the costs of
13   veterinary medicine during that time.
14          92.     In accordance with Healthy Paws’ misrepresentations and omissions and the
15   policy’s own terms, Plaintiff Kowalski expected the monthly premiums on her policy to rise
16   only slightly in line with inflation throughout the duration of the policy. Indeed, had Plaintiff
17   Kowalski known that the monthly premiums would drastically increase as her dogs aged, she
18   never would have signed up for the policy.
19                              V. CLASS ACTION ALLEGATIONS
20          93.     This action is brought by Plaintiffs individually and on behalf of classes pursuant
21   to Rule 23(b)(3) of the Federal Rules of Civil Procedure.
22
                    The National Class is defined as follows:
23
                    All persons who, within the applicable statute of limitations, had
24                  their monthly premiums increase on a Healthy Paws pet insurance
                    policy (Proposed class representatives: Benanav, Kowalski, and
25                  Thomas)
26

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                    The California Subclass is defined as follows:
 1

 2                  All persons in the state of California who, within the applicable
                    statute of limitations, had their monthly premiums increase on a
 3                  Healthy Paws pet insurance policy (Proposed class representative:
                    Benanav).
 4
                    The Illinois Subclass is defined as follows:
 5
                    All persons in the state of Illinois who, within the applicable statute
 6                  of limitations, had their monthly premiums increase on a Healthy
 7                  Paws pet insurance policy (Proposed class representative:
                    Kowalski).
 8
                    The New Jersey Subclass is defined as follows:
 9
                    All persons in the state of New Jersey who, within the applicable
10                  statute of limitations, had their monthly premiums increase on a
                    Healthy Paws pet insurance policy (Proposed class representative:
11                  Thomas).
12
            Excluded from the Classes are Healthy Paws, its officers and directors, members of
13
     their immediate families, and the heirs, successors or assigns of any of the foregoing.
14
            94.     Numerosity. The Classes consists of hundreds or thousands of consumers of pet
15
     insurance and is thus so numerous that joinder of all members is impracticable.
16
            95.     Ascertainability. The identities and addresses of all members of the Classes can
17
     be readily ascertained from Healthy Paws’ business records.
18
            96.     Typicality. The claims asserted by Plaintiffs are typical of the claims of
19
     members of the Classes inasmuch as Plaintiffs and Class members were deceived by Healthy
20
     Paws in the same manner.
21
            97.     Adequacy. Plaintiffs will fairly and adequately protect the interests of the
22
     members of the Classes and do not have any interests antagonistic to those of the other
23
     members of the Classes. In addition, Plaintiffs have retained attorneys who are knowledgeable
24
     and experienced in class and complex litigation.
25

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 1          98.       Commonality and Predominance. Common questions of law and fact affecting
 2   members of the Classes predominate over any individualized issues. These predominating
 3   common questions include the following:
 4                    a.     Whether Healthy Paws misrepresented and/or omitted material facts to
 5   policyholders;
 6                    b.     Whether Plaintiffs and members of the Classes sustained damages as a
 7   result of Healthy Paws’ breaches of the policies; and
 8                    c.     Whether Plaintiffs and members of the Classes are entitled to damages,
 9   restitution, and/or other relief as a remedy for Healthy Paws’ breaches of the policies.
10          99.       Superiority. A class action is superior to other available methods for the fair and
11   efficient adjudication of this controversy for at least the following reasons:
12                    a.     The complexity of issues involved in this action and the expense of
13   litigating the claims, means that few, if any, class members could afford to seek legal redress
14   individually for the wrongs that Defendant committed against them, and absent class members
15   have no substantial interest in individually controlling the prosecution of individual actions;
16                    b.     This action will cause an orderly and expeditious administration of the
17   class claims and foster economies of time, effort and expense, and ensure uniformity of
18   decisions;
19                    c.     Without a class action, many class members would continue to suffer
20   injury, and Healthy Paws’ violations of law will continue without redress while Defendant
21   continues to reap and retain the substantial proceeds of their wrongful conduct; and
22          100.      Manageability. This action does not present any undue difficulties that would
23   impede its management by the Court as a class action.
24

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                                  VI. FIRST CLAIM FOR RELIEF
 1
                          Violation of Washington’s Consumer Protection Act
 2                                       RCW § 19.86, et seq.
                            (On Behalf of Plaintiffs and the National Class)
 3
             101.   Plaintiffs incorporate and restate by reference all of the preceding allegations as
 4
     though fully set forth herein.
 5
             102.   Washington’s Consumer Protection Act (“CPA”) makes unlawful any “Unfair
 6
     methods of competition and unfair or deceptive acts or practices in the conduct of any trade or
 7
     commerce…” RCW 19.86.020.
 8
             103.   Defendant engaged in misleading, false, unfair or deceptive acts or practices that
 9
     violated the Washington Consumer Protection Act through both its affirmative
10
     misrepresentations and material omissions on its website, in its sample policy, and in the policy
11
     documents, as discussed above. Specifically, Defendant never stated that monthly premiums
12
     would increase based on a pet’s age and instead stated that premiums would only increase for
13
     all policyholders based on the rising cost of veterinary care.
14
             104.   Defendant intentionally and knowingly engaged in these unlawful practices.
15
     Upon information and belief, Defendant knew premiums would increase based on a pet’s age
16
     and misled Plaintiffs and other class members into signing up for policies based on these
17
     misrepresentations and omissions.
18
             105.   Had Plaintiffs known their premiums would increase based on their pet’s age,
19
     they would not have signed up for the policies.
20
             106.   Defendants’ false, misleading, unfair, and deceptive acts and practices were
21
     intentional, knowing, and occurred in the conduct of Defendant’s trade and commerce. These
22
     bad acts were intended to, and did, result in Defendant profiting from its misleading practice.
23
             107.   Defendant’s false, misleading, unfair, and deceptive acts and practices caused
24
     Plaintiffs and the Class injury because they paid more for their policies than they should have
25
     paid.
26

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 1           108.   Plaintiffs and the Class have been injured by Defendant’s CPA violations in an
 2   amount to be determined at trial. Plaintiffs seek all damages available under CPA § 19.86.090,
 3   including actual damages, costs (including reasonable attorneys’ fees), and treble damages.
 4           109.   Defendant’s conduct affects the public interest as millions of consumers
 5   purchase pet insurance and rely on companies’ representations—including Defendant’s
 6   representations—concerning the price of the policies. Plaintiffs, the Class, consumers, and the
 7   public have a strong interest in ensuring that companies truthfully disclose the factors they
 8   consider in setting monthly premiums. Defendant’s false, misleading, unfair, and deceptive acts
 9   affected hundreds or thousands of consumers by causing them to overpay for Healthy Paws’
10   policies.
11                           VII. SECOND CLAIM FOR RELIEF:
12                        Violation of California’s Unfair Competition Law
                               Cal. Bus. & Prof. Code § 17200, et seq.
13                     (On Behalf of Plaintiff Benanav and the California Class)

14           110.   Plaintiffs incorporate and restate by reference all of the preceding allegations as

15   though fully set forth herein.

16           111.   This claim is brought on behalf of Plaintiffs and the California Class in the event

17   the Court declines to apply Washington law to the nationwide class.

18           112.   Plaintiff Benanav and the members of the California Class have standing to

19   pursue a cause of action against Defendant for unfair and/or unlawful business acts or practices

20   because he has suffered an injury-in-fact and lost money due to Defendant’s actions and/or

21   omissions as set forth herein.

22           113.   Defendant’s conduct as alleged herein constitutes a fraudulent business practice

23   within the meaning of Bus. & Prof. Code § 17200, et seq., through both its affirmative

24   misrepresentations and material omissions on its website, in its sample policy, and in the policy

25   documents, as discussed above. Specifically, Defendant never stated that monthly premiums

26   would increase based on a pet’s age and instead stated that premiums would only increase for

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 1   all policyholders based on the rising cost of veterinary care. Such representations and omissions
 2   misled the Plaintiffs and California Class members and are likely to mislead the public.
 3           114.    Had Plaintiffs known his premiums would increase based on pet-age, he would
 4   not have signed up for the policy.
 5           115.    Defendant’s conduct alleged herein is “unfair” under Bus. & Prof. Code
 6   § 17200 because it is immoral, unethical, oppressive, unscrupulous, and/or substantially
 7   injurious to consumers, and any utility of such practices is outweighed by the harm caused to
 8   consumers, including to Plaintiff, the California Class, and the public.
 9           116.    Defendant knew or should have known that their representations were false,
10   deceptive, and misleading.
11           117.    There were reasonably available alternatives to further Defendant’s legitimate
12   business interests.
13           118.    Reasonable consumers had no way of knowing that Defendant was engaged in
14   false, deceptive, and misleading advertising, and therefore could not have reasonably avoided
15   the injuries that they suffered.
16           119.    Defendant’s wrongful conduct is ongoing and part of a pattern or generalized
17   course of conduct.
18           120.    Pursuant to Bus. & Prof. Code § 17203, Plaintiffs seeks an injunction on behalf
19   of themselves and the general public enjoining Defendant from continuing to engage in the
20   unfair competition alleged above, or any other act prohibited by law, to prevent future
21   consumers from being misled by Defendant’s actions.
22           121.    Plaintiffs also seeks an order requiring Defendant to make full restitution and to
23   disgorge its ill-gotten gains wrongfully obtained from members of the Class as permitted by
24   Bus. & Prof. Code § 17203.
25           122.    Additionally, Plaintiffs and the California Class members seek an order
26   requiring Defendant to pay attorneys’ fees pursuant to Cal. Civ. Code § 1021.5.
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                               VIII. THIRD CLAIM FOR RELIEF:
 1
           Violation of the Illinois Consumer Fraud and Deceptive Business Practices Act
 2                                      815 ILCS 505/1, et seq.
                       (On Behalf of Plaintiff Kowalski and the Illinois Class)
 3
            123.    Plaintiffs incorporate and restate by reference all of the preceding allegations as
 4
     though fully set forth herein.
 5
            124.    This claim is brought on behalf of Plaintiff Kowalski and the Illinois Class in the
 6
     event the Court declines to apply Washington law to the nationwide class.
 7
            125.    Defendant is a “person” as that term is defined in 815 ILCS 505/ l (c).
 8
            126.    Plaintiffs and the Illinois Class members are “consumers” as that term is defined
 9
     in 815 ILCS 505/l(e).
10
            127.    The Illinois Consumer Fraud and Deceptive Business Practices Act (“ICFA”)
11
     prohibits “unfair or deceptive acts or practices, including but not limited to the use or
12
     employment of any deception, fraud, false pretense, false promise, misrepresentation or the
13
     concealment, suppression or omission of any material fact, with intent that others rely upon the
14
     concealment, suppression or omission of such material fact ... in the conduct of trade or
15
     commerce ... whether any person has in fact been misled, deceived or damaged thereby.” 815
16
     ILCS 505/2.
17
            128.    Defendant engaged in misleading, false, unfair or deceptive acts or practices that
18
     violated the Illinois CFA through both its affirmative misrepresentations and material
19
     omissions on its website, in its sample policy, and in the policy documents, as discussed above.
20
     Specifically, Defendant never stated that monthly premiums would increase based on a pet’s
21
     age and instead stated that premiums would only increase for all policyholders based on the
22
     rising cost of veterinary care. Defendant intentionally and knowingly misrepresented material
23
     facts regarding with intent to mislead Plaintiffs and the Illinois Class members.
24
            129.    Defendant intentionally and knowingly engaged in these unlawful practices.
25
     Upon information and belief, Defendant knew premiums would increase based on a pet’s age
26

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 1   and misled Plaintiffs and other Illinois Class members into signing up for policies based on
 2   these misrepresentations and omissions.
 3           130.   Defendant knew or should have known that its conduct violated the ICFA, as it
 4   should have known that the representations it was making were false. Defendant owed
 5   Plaintiffs and the Illinois Class a duty to disclose the reasons monthly premiums would
 6   increase.
 7           131.   Defendant’s unfair or deceptive acts or practices were likely to and did in fact
 8   deceive consumers, including Plaintiff.
 9           132.   Had Plaintiff known her premiums would increase based on her pet’s age, she
10   would not have signed up for the policy.
11           133.   Plaintiff and the Illinois Class suffered ascertainable loss and actual damages as
12   a direct and proximate result of Defendant’s misrepresentations and its concealment of and
13   failure to disclose material information.
14           134.   Defendant’s violations present a continuing risk to Plaintiff as well as to the
15   general public. Defendant’s unlawful acts and practices complained of herein affect the public
16   interest.
17           135.   As a direct and proximate result of Defendant’s violations of the ICFA, Plaintiff
18   and the Illinois Class have suffered injury-in-fact and/or actual damage.
19           136.   Pursuant to 815 I LCS 505/10a(a), Plaintiff and the Illinois Class seek monetary
20   relief against Defendant in the amount of actual damages, as well as punitive damages because
21   Defendant acted with fraud and/or malice and/or was grossly negligent.
22           137.   Plaintiff also seek an order enjoining Defendant's unfair and/or deceptive acts or
23   practices, punitive damages, and attorneys’ fees, and any other just and proper relief available
24   under 815 ILCS § 505/1 et seq.
25

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                                  IX. FOURTH CLAIM FOR RELIEF:
 1
                           Violation of New Jersey’s Consumer Fraud Act
 2                                       N.J.S.A. 56:8-1 et seq.
                       (On Behalf of Plaintiff Thomas and the New Jersey Class)
 3
            138.    Plaintiffs incorporate and restate by reference all of the preceding allegations as
 4
     though fully set forth herein.
 5
            139.    This claim is brought on behalf of Plaintiff Thomas and the New Jersey Class in
 6
     the event the Court declines to apply Washington law to the nationwide class.
 7
            140.    The Consumer Fraud Act was enacted by the New Jersey legislature to protect
 8
     consumers from unfair, unconscionable and deceptive business practices.
 9
            141.    Certain of Defendant’s policies and/or practices described in this Complaint
10
     constitute unfair, unconscionable or deceptive trade or business practices. Defendant engages in
11
     such conduct as a general business practice, uniformly and as a matter of policy
12
     misrepresenting and omitting the reasons monthly premiums increase on its policies.
13
     Specifically, Defendant never stated that monthly premiums would increase based on a pet’s
14
     age and instead stated that premiums would only increase for all policyholders based on the
15
     rising cost of veterinary care. Defendant intentionally and knowingly misrepresented material
16
     facts regarding with intent to mislead Plaintiff and the New Jersey Class members.
17
            142.    Defendant intentionally and knowingly engaged in these unlawful practices.
18
     Upon information and belief, Defendant knew premiums would increase based on a pet’s age
19
     and misled Plaintiff and other New Jersey Class members into signing up for policies based on
20
     these misrepresentations and omissions.
21
            143.    Had Plaintiff known her premiums would increase based on her pet’s age, she
22
     would not have signed up for the policy.
23
            144.    These violations have directly, foreseeably, and proximately caused damages to
24
     Plaintiff and the New Jersey Class in an amount yet to be determined.
25

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 1          145.    Accordingly, Plaintiff and the New Jersey Class members are entitled to relief
 2   including, but not limited to, actual damages, treble damages, injunctive relief, and/or
 3   attorney’s fees and costs.
 4                                    IX. PRAYER FOR RELIEF
 5          WHEREFORE, Plaintiffs and the Classes pray for judgment as follows:
 6          A.      Certifying this action for class treatment pursuant to Rule 23 of the Federal
 7   Rules of Civil Procedure;
 8          B.      Awarding Plaintiffs and the Classes compensatory, consequential, statutory, and
 9   punitive damages in an amount to be proven at trial;
10          C.      Awarding Plaintiffs and the Classes pre-judgment and post-judgment interest, as
11   well as attorneys’ fees and costs, at the maximum rate allowed by law;
12          D.      Issuing declaratory and injunctive relief to prevent Healthy Paws’ ongoing
13   deceptive conduct as asserted herein; and
14          E.      Awarding Plaintiffs and the Classes such other relief as this Court may deem
15   just and proper under the circumstances.
16
                                          X. JURY DEMAND
17          Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiffs and the Classes
18   hereby demand a trial by jury as to all issues so triable.
19
            RESPECTFULLY SUBMITTED AND DATED this 8th day of June, 2020.
20
                                               TURKE & STRAUSS LLP
21
                                               By:     /s/ Samuel J. Strauss, WSBA #46971
22
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10                                    Attorneys for Plaintiff

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 1   CERTIFICATE OF SERVICE
 2             I hereby certify that on June 8, 2020, I caused a true and correct copy of the foregoing
 3   to be filed in this Court’s CM/ECF system, which sent notification of such filing to counsel of
 4   record.
 5             DATED this 8th day of June, 2020.
 6
                                                TURKE & STRAUSS LLP
 7
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        — EXHIBIT A —
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                                                       WESTCHESTER FIRE INSURANCE COMPANY
                                     PET HEALTH INSURANCE POLICY
      Please read your Pet Health Insurance Policy carefully to determine the parties’ rights and duties and what is and
      is not covered. Some provisions in the policy limit or restrict coverage.
      Throughout this policy, the words you and your, refer to the policyholder (Pet Parent) shown in the Declarations
      Page.
      The words we, us and our, refer to the company providing this insurance.
      Words and phrases that appear in bold type have special meaning found in Section V. Definitions.

I.            INSURING AGREEMENT
          We rely on the statements you made in the application. Upon your payment of the premiums when due, we
          will provide coverage as specifically described in this policy for your pet as shown on the declarations
          page.
          Benefits are subject to terms, conditions, limitations and exclusions of this policy and to your responsibility
          for the coinsurance and deductible. Coverage is in effect at the time and date shown on the declarations
          page subject to the waiting periods described in II. EXCLUSIONS & LIMITATIONS 1) b., 1) c. and 1) d.
          1) WE COVER: Reimbursement of the cost incurred by you for medically necessary veterinary treatment
             recommended by your veterinarian for conditions covered by this policy. These costs will be covered
             when your pet:
              a. develops an illness, or
              b. has an injury as a result of an accident;
              during the coverage term.
              This policy shall not cover amounts charged by the treating veterinary clinic that are greater than the
              treating veterinary clinic’s standard or published charges.
          2) LIFETIME LIMIT: The maximum amount you may claim while coverage is in force with respect to any
             one pet for veterinary treatment over the lifetime of that pet. The Lifetime Limit is shown on the
             declarations page. Subject to the maximum lifetime limit, there are no limits per claim or per year.
          3) COINSURANCE: The portion you are required to pay for your pet’s veterinary treatment. Your pet’s
             coinsurance amount is shown on the pet schedule of the declarations page.
          4) DEDUCTIBLE: Your pet’s deductible is shown on the pet schedule of the declarations page. Your
             pet’s deductible shall apply once per coverage term.
          5) MONTHLY PREMIUM: Your monthly premium is set forth on your declarations page. Monthly
             premiums may change for all policyholders to reflect changes in the costs of veterinary medicine. We will
             notify you at least sixty (60) days in advance of such change.
          6) CHANGES TO YOUR COVERAGE: Your coverage, coinsurance, and deductible will not change due
             to your pet’s claims experience.

II.           EXCLUSIONS & LIMITATIONS
          1) GENERAL EXCLUSIONS
              We do not cover:
              a. Veterinary examination fees.




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        b. Injury from an accident that occurs within the first fifteen (15) days following the pet policy effective
           date.
        c.   Illness that occurs or recurs within the first fifteen (15) days following the pet policy effective date.
        d. Illness related to hip dysplasia that occurs or recurs within the first twelve (12) months following the
           pet policy effective date.
        e. Conditions or complications that result from accidents that occur or illnesses that develop or
           redevelop within the first fifteen (15) days following the pet policy effective date.
    2) PRE-EXISTING CONDITIONS
        We do not cover pre-existing conditions.
    3) PREVENTIVE CARE EXCLUSIONS
        We do not cover:
        a. Spaying and neutering.
        b. Preventive healthcare including vaccinations or titer test, flea control, heartworm medication, de-
           worming, nail trim, and grooming.
        c.   Parasite control including but not limited to internal and external parasites for which readily available
             prophylactic treatments are available.
        d. Dental health care, however if injury to teeth is caused by an accident, we do cover the cost of
           extraction and/or reconstruction of damaged teeth.
        e. Anal gland expression.
    4) OTHER EXCLUSIONS
        We do not reimburse the costs, fees or expenses associated with:
        a. Injury or illness due to any intentional, neglectful or preventable act, including organized dog
           fighting, by you or a member of your household;
        b. Elective procedures, cosmetic procedures, preventive procedures including but not limited to:
             1. tail docking;
             2. ear cropping;
             3. de-clawing;
             4. micro-chipping;
             5. dew claw removal; or
             6. ear cleaning;
        c.   Boarding or transport expenses;
        d. Conditions arising from a specific activity if the same or a similar activity occurred prior to the pet
           policy effective date and displayed the propensity for the activity to recur and cause injury or
           illness to your pet;
        e. Future treatment for injury or conditions of a leg when cruciate ligament problems to any other leg
           existing prior to the pet policy effective date, have been identified, regardless of whether or not the
           new signs or symptoms are related to such cruciate ligament problems;
        f.   Diseases preventable by vaccines and prophylactic medications (such as heartworm, lice, internal
             parasites and fleas);
        g. Complications of conditions excluded or limited by this policy;




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               h. Abnormalities where clinical symptoms were apparent prior to the pet policy effective date. This
                  includes conditions that are detectable by a routine physical exam by your veterinarian;
               i.   Claims in any way arising from the lack of use and/or implementation of preventive healthcare
                    products and/or methods when such products and/or methods would be in accordance with generally
                    accepted veterinary standards. Routine healthcare includes: vaccinations, flea control, heartworm
                    medication, de-worming, dental care, ear plucking, grooming, and prudent regular care;
               j.   Special diets, foods, vitamins, grooming, nail trims, shampoo and bathing;
               k.   Any claim for loss from a nuclear incident as defined in the Nuclear Liability Act, nuclear explosion or
                    contamination by radioactive material;
               l.   Conditions arising from any specific activity if the same or similar activity occurs after you have
                    received written notice from us regarding the specific activity;
               m. Experimental or investigational treatment or medicine;
               n. Breeding or conditions relating to breeding, whelping, and queening;
               o. Diagnostic tests for conditions excluded by this policy;
               p. Diagnostic tests due to complications of conditions excluded or limited by this policy;
               q. Conditions caused by war or war activities whether war be declared or not. War activities include
                  civil war, insurrection, rebellion, or revolution or any act or condition incident of any of the foregoing;
               r.   Feeding, housing or exercise;
               s.   Training, therapy, medications or other methods or forms of behavioral modification;
               t.   Shipping or mailing costs unless associated with a covered compounded medication or diagnostic
                    tests.
           5) LIMITATIONS
               a. A pet less than six (6) years of age on the date of enrollment must have undergone a complete
                  clinical examination. The exam must have taken place either in the twelve (12) months prior to the
                  pet policy effective date, or within fifteen (15) days following the pet policy effective date. A pet
                  six (6) years of age or greater on the date of enrollment must have undergone a complete clinical
                  examination within thirty (30) days prior to the pet policy effective date, or within fifteen (15) days
                  following the pet policy effective date. Your failure to submit your pet to a complete clinical
                  examination may void the policy. If the policy is voided, the policy premium will be refunded.
               b. For pets six (6) years of age or greater on the date of enrollment, no coverage shall apply for illness
                  related to hip dysplasia.
               c.   For working pets, no coverage shall apply for any condition resulting from activities related to
                    racing, breeding, law enforcement, guarding or for any commercial use.
               d. We will not make any payments for any claims for which you are entitled to be paid under any other
                  insurance except for any additional sum which is payable over and above such other insurance.

III.           GENERAL CONDITIONS
           1) Premium is payable monthly by Direct Debit or by charge to your credit card, according to the option
              selected by you on the application. This policy is continued until cancelled, and will renew automatically
              each month as long as premium payments are current. When you have not paid the premium, we may
              cancel this policy. We will let you know at least twenty (20) days before the date cancellation takes
              effect. No coverage will be provided for any claim with a date of veterinary treatment between the
              premium due date and the cancellation date, unless the premium payments are current.
           2) You may cancel your policy by notifying us in writing via regular mail, fax or email at least fourteen (14)
              days in advance of your next premium payment.




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          3) You must be the owner of each pet shown on the pet schedule. If the pet owner dies, becomes unable
             to care for any insured pet, or passes the ownership of any insured pet, the coverage will continue
             without interruption, if approved in writing by us, subject to all other terms and conditions of this policy.
          4) A pet is covered under this policy only while the pet is in the United States of America, or temporarily
             away in Canada.
          5) You must agree to implement all reasonable means possible in the care and protection of your pet. You
             further agree to protect your pet from aggravation or recurrence of the injury /or illness.
          6) This coverage is not transferable to other pets. All new pets are subject to a new application and your
             monthly payment will increase.
          7) You are entitled to increase the deductible or coinsurance amount applicable to your pet at any time.
             This request must be made in writing and will become effective the month following approval by us. You
             may apply to lower the deductible or coinsurance amount applicable to your pet provided you have not
             previously filed a claim with us for that pet. This request must be in writing and will become effective the
             month following approval by us.
          8) Notice of loss must be given by either you or your agent.
          9) The loss is payable within sixty days after completion of the claim form, unless applicable state law
             provides for a shorter period.
          10) In order to process a claim, you must allow us to contact your present and previous veterinarian(s) and
              provide us with the necessary authority to obtain any information we may require. In the event
              information relating to the history of the pet is missing or incomplete, the claim will not be processed. You
              must also agree to submit the pet to examination, if we require, by a veterinarian selected by us.
          11) In the event of any disagreement between you and us with regard to a claim, the matter will be referred
              to a veterinarian of ours. If the matter is not resolved, an independent third party veterinarian shall be
              appointed by us. This independent third party veterinarian’s decision shall be final and binding on all
              parties.
          12) Every action or proceeding against us for the recovery of any claim under or by virtue of this contract is
              absolutely barred unless commenced within one year after the loss or damage occurs or unless state law
              requires a longer period.

IV.           ADDITIONAL CONDITIONS
          1) MISREPRESENTATION AND FRAUD – This policy will be voided if you have concealed or
             misrepresented any material fact or circumstance concerning this insurance or the pet covered. We do
             not provide coverage, for an insured who has intentionally concealed or misrepresented any such facts
             or circumstances before or after a loss.
          2) CANCELLATION
              a. We may cancel this policy if we do not receive a monthly premium from you when the premium is
                 due. In such a case a written notice will be sent to you at your last email address known to us. We
                 will provide at least (20) days notice of our intent to cancel. The notice will be in accordance with the
                 provisions of III. GENERAL CONDITIONS 1). Otherwise, we may cancel this policy by providing you
                 at least ninety (90) days written notice.
              b. You may cancel this policy at any time by notifying us in writing via regular mail, fax or email. This is
                 in accordance with the provisions of III. GENERAL CONDITIONS 2).
          3) STATE LAW – When this policy’s provisions are in conflict with the statutes of the state in which this
             policy is issued, the provisions are amended to conform to such statutes.
          4) ENTIRE CONTRACT – This policy, the declarations page, and any attached endorsement constitutes
             the entire agreement between you and us.




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     5) FREE LOOK PERIOD - If you are not satisfied with this policy within thirty (30) days of the Policy Effective
        Date, you may cancel your insurance. We will refund your premium in full, as long as you have not submitted
        a claim.

V.       DEFINITIONS
     The following defined words or phrases in the policy are printed in bold type and have the following
     meanings, unless a different meaning is described in a particular coverage or endorsement.
     1) Accident. An unexpected and unintended event.
     2) Clinical Examination. A thorough examination performed by a licensed and registered veterinarian
        encompassing all body systems of the pet. Examination can also be referred to as “full physical, physical
        consultation, full examination or veterinary examination.”
     3) Clinical Symptoms. Any manifested anomaly in, or deviation from the regular healthy state or function of
        a pet, including behavioral traits. Clinical Symptoms include any anomaly that is readily detectible by a
        thorough and complete clinical examination.
     4) Coinsurance. Your portion of the cost of insured veterinary treatment for your pet before any
        deductible is applied. Your pet’s coinsurance amount is shown as “Your Share” on the pet schedule of
        the declarations page.
     5) Condition. Any manifestations of clinical symptoms consistent with a diagnosis or diagnoses,
        regardless of the number of such symptoms or areas of the body affected.
     6) Coverage. The insurance protection described in this policy form and on the declarations page.
     7) Coverage Term. A twelve (12) month period that begins with the effective date of coverage and
        continues for each twelve (12) month period thereafter.
     8) Declarations Page. A written document comprising part of this policy, which identifies the insured, the
        policy number, and the insured pet schedule with the coverage options selected and Lifetime Limit
        provided.
     9) Deductible. The amount you must first pay with respect to the cost of insured veterinary treatment for
        your pet after your pet’s coinsurance portion has been applied.
     10) Dental Health Care. The care required to maintain dental hygiene for your pet. This includes cleaning,
         brushing, scaling, polishing, extractions and reconstructions.
     11) Diagnostic Tests. Tests used to determine the overall health of your pet. Diagnostic tests can be used
         as a way to detect certain abnormalities. It can also validate the current health of your pet, or help to
         evaluate an older pet more thoroughly before problems surface.
     12) Hospitalization. Charges for boarding your pet at a veterinary clinic as required by your veterinarian to
         deliver nursing care, administer medication to or monitor your pet.
     13) Illness. Sickness, disease or any other changes to your pet’s normal healthy state; or any condition
         other than your pet’s normal healthy state.
     14) Injury or Injuries. Physical harm or damage to your pet arising from normal activity or an accident.
     15) Medically Necessary. Medical services, supplies or treatments provided by a veterinarian to treat covered
         pets which are:
         a. consistent with symptoms or diagnosis;
         b. appropriate and meet generally accepted veterinary practice standards;
         c.   not primarily for the convenience of the pet parent, your veterinarian or other providers; and
         d. consistent with the most appropriate supply or level of services which can safely be provided to the pet.
     16) Medication. Any veterinary recommended medications prescribed by your veterinarian and approved
         by the Food and Drug Administration (FDA) for veterinary use.



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    17) Neutering. Orchiectomy, or surgical removal of the testicles.
    18) Pet or Pets. A domestic cat or dog that is owned for companionship or as a help dog. Pet or Pets do not
        include a domestic cat or dog that is involved in activities other than companionship or helping, including,
        but not limited to, racing, breeding, law enforcement, guarding or commercial activities.
    19) Pet Parent. The owner of the pet, including owner’s spouse or partner.
    20) Pet Policy Effective Date. 12:01 a.m. of the day following the date you enroll your pet, as shown on the
        pet schedule of the declarations page, subject to the waiting periods as defined in II. EXCLUSIONS &
        LIMITATIONS 1) b., 1) c., and 1) d.
    21) Pet Schedule. The table shown on the declarations page that identifies the pet policy effective date,
        policy number and coverage options related to a specific insured pet.
    22) Policy. The terms and conditions and most recent declarations page that includes any endorsements that
        apply.
    23) Policy Effective Date. 12:01 a.m. of the day following the date Shown in the Declarations, subject to the
        waiting periods as defined in II. EXCLUSIONS & LIMITATIONS 1) b., 1) c., and 1) d.
    24) Pre-existing conditions means:
        a. Illness or condition which developed or redeveloped prior to the pet policy effective date;
        b. an injury, or recurrence of an injury, as a result of an accident that occurred prior to the pet policy
           effective date; or
        c.   any condition or complication resulting from an illness that developed, or any injury as a result of
             an accident that occurred prior to the pet policy effective date.
    25) Spaying. Ovariohysterectomy, or resection of the ovaries and uterus.
    26) Supplies. Any item that is medically necessary, as determined by the veterinarian, that is safe and
        effective for its intended use, and that omission would adversely affect the insured pet.
    27) Surgery or Surgeries. Any procedure that treats diseases or injuries by operative manual and
        instrumental treatment.
    28) Vaccination. The administration of an industry-recognized commercial vaccine by a registered licensed
        veterinarian. The vaccine must be in accordance with the manufacturer’s recommendations, following a
        complete clinical examination, for prevention of disease.
    29) Veterinarian. A properly licensed and registered veterinarian in active practice in the area where the pet
        is treated or examined. Veterinarian shall not include you or a member of your immediate family.
    30) Veterinary Examinations Fees. Fees charged for the professional opinion of a veterinarian. Also
        referred to as consultation, examination, referral, and recheck fees.
    31) Veterinary Treatment means:
        a. X-rays;
        b. Laboratory and diagnostic tests;
        c.   Medication;
        d. Surgeries;
        e. Supplies;
        f.   Hospitalization;
        g. Euthanasia; and
        h. Nursing care;
        provided by a licensed veterinarian and their staff under direct supervision.



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    32) Waiting Periods. 15 days from the Pet Policy Effective Date for accidents and illness and 12 months
        from the Pet Policy Effective Date for illness related to hip dysplasia.
    33) Working Pets. Any pet involved in activities other than companionship or helping, including, but not
        limited to, racing, breeding, law enforcement, guarding or for other commercial use.
    34) Your Pet. The dog or cat named in the pet schedule of the declarations page.




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        — EXHIBIT B —
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                                                               ACE American Insurance Company


                                        Pet Health Insurance Policy

  Please read your Pet Health Insurance Policy carefully to determine the parties’ rights and duties and what is and is not
  covered. Some provisions in the policy limit or restrict coverage.
  Throughout this policy, the words you and your, refer to the policyholder (Pet Parent) shown in the Declarations Page.
  The words we, us and our, refer to the company providing this insurance.
  Words and phrases that appear in bold type have special meaning found in Section V. Definitions.

I. INSURING AGREEMENT
  We rely on the statements you made in the application. Upon your payment of the premiums when due, we will provide
  coverage as specifically described in this policy for your pet as shown on the declarations page.
  Benefits are subject to terms, conditions, limitations and exclusions of this policy and to your responsibility for the
  coinsurance and deductible. Coverage is in effect at the time and date shown on the declarations page subject to the
  waiting periods described in II. EXCLUSIONS & LIMITATIONS 1) b,.1) c. and 1) d.
  1) WE COVER: Reimbursement of the cost incurred by you for medically necessary veterinary treatment
     recommended by your veterinarian for conditions covered by this policy. These costs will be covered when your
     pet:
      a. develops an illness, or
      b. has an injury as a result of an accident;
          during the coverage term.
          This policy shall not cover amounts charged by the treating veterinary clinic that are greater than the treating
          veterinary clinic’s standard or published charges.
  2) LIFETIME LIMIT: The maximum amount you may claim while coverage is in force with respect to any one pet for
     veterinary treatment over the lifetime of that pet. The Lifetime Limit is shown on the declarations page. Subject to
     the maximum lifetime limit, there are no limits per claim or per year.
  3) COINSURANCE: The portion you are required to pay for your pet’s veterinary treatment. Your pet’s coinsurance
     amount is shown on the pet schedule of the declarations page.
  4) DEDUCTIBLE: Your pet’s deductible is shown on the pet schedule of the declarations page.                      Your pet’s
     deductible shall apply once per coverage term.
  5) MONTHLY PREMIUM: Your monthly premium is set forth on your declarations page. Monthly premiums may
     change for all policyholders to reflect changes in the costs of veterinary medicine. We will notify you at least sixty (60)
     days in advance of such change.
  6) CHANGES TO YOUR COVERAGE: Your coverage, coinsurance, and deductible will not change due to your
     pet’s claims experience.




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II. EXCLUSIONS & LIMITATIONS
  1) GENERAL EXCLUSIONS
     We do not cover:
     a. Veterinary examination fees.
     b. Injury from an accident that occurs within the first fifteen (15) days following the pet policy effective date.
     c.   Illness that occurs or recurs within the first fifteen (15) days following the pet policy effective date.
     d. Illness related to hip dysplasia that occurs or recurs within the first twelve (12) months following the pet policy
        effective date.


  2) PRE-EXISTING CONDITIONS
     We do not cover pre-existing conditions.
     Pre-existing conditions means:
     a. illness or the recurrence of any illness or condition which first occurred or displayed any signs and/or symptoms
        consistent with the stated illness or condition prior to the pet policy effective date;
     b. an injury or recurrence of an injury that occurred prior to the pet policy effective date; or
     c.   any condition or complication resulting from an illness or injury that occurred prior to the pet policy effective
          date.


  3) PREVENTIVE CARE EXCLUSIONS
     We do not cover:
     a. Spaying and neutering.
     b. Preventive healthcare including vaccinations or titer test, flea control, heartworm medication, de-worming, nail
        trim, and grooming.
     c.   Parasite control including but not limited to internal and external parasites for which readily available prophylactic
          treatments are available.
     d. Dental health care, however if injury to teeth is caused by an accident, we do cover the cost of extraction and/or
        reconstruction of damaged teeth.
     e. Anal gland expression.


  4) OTHER EXCLUSIONS
     We do not reimburse the costs, fees or expenses associated with:
     a. Injury or illness due to any intentional, neglectful or preventable act, including organized dog fighting, by you or
        a member of your household;
     b. Elective procedures, cosmetic procedures, preventive procedures including but not limited to:
          1. tail docking;
          2. ear cropping;
          3. de-clawing;
          4. micro-chipping;
          5. dew claw removal; or


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        6. ear cleaning;
   c.   Boarding or transport expenses;
   d. Conditions arising from a specific activity if the same or a similar activity occurred prior to the pet policy
      effective date and displayed the propensity for the activity to recur and cause injury or illness to your pet;
   e. Pre-existing cruciate ligament problems to one leg as respects the cost of future treatment for problems of the
      other leg;
   f.   Diseases preventable by vaccines and prophylactic medications (such as heartworm, lice, internal parasites and
        fleas);
   g. Complications of conditions excluded or limited by this policy;
   h. Abnormalities where clinical symptoms were apparent prior to the pet policy effective date. This includes
      conditions that are detectable by a routine physical exam by your veterinarian;
   i.   Claims in any way arising from the lack of use and/or implementation of preventive healthcare products and/or
        methods when such products and/or methods would be in accordance with generally accepted veterinary
        standards. Routine healthcare includes: vaccinations, flea control, heartworm medication, de-worming, dental
        care, ear plucking, grooming, and prudent regular care;
   j.   Special diets, pet foods, vitamins, supplements, grooming, nail trims, shampoo and bathing (including medicated
        baths);
   k.   Any claim for loss from a nuclear incident as defined in the Nuclear Liability Act, nuclear explosion or
        contamination by radioactive material;
   l.   Conditions arising from any specific activity if the same or similar activity occurs after you have received written
        notice from us regarding the specific activity;
   m. Experimental or investigational treatment or medicine;
   n. Breeding or conditions relating to breeding, whelping, and queening;
   o. Diagnostic tests for conditions excluded by this policy;
   p. Diagnostic tests due to complications of conditions excluded or limited by this policy;
   q. Conditions caused by war or war activities whether war be declared or not. War activities include civil war,
      insurrection, rebellion, or revolution or any act or condition incident of any of the foregoing;
   r.   Feeding, housing or exercise;
   s.   Behavioral modification, training, therapy or medications for behavioral modification.


5) LIMITATIONS
   a. A pet less than six (6) years of age on the date of enrollment must have undergone a complete clinical
      examination. The exam must have taken place either in the twelve (12) months prior to the pet policy effective
      date, or within fifteen (15) days following the pet policy effective date. A pet six (6) years of age or greater on
      the date of enrollment must have undergone a complete clinical examination within thirty (30) days prior to the
      pet policy effective date, or within fifteen (15) days following the pet policy effective date. Your failure to
      submit your pet to a complete clinical examination may void the policy. If the policy is voided, the policy
      premium will be refunded.
   b. For pets six (6) years of age or greater on the date of enrollment, no coverage shall apply for illness related to
      hip dysplasia.
   c.   For working pets, no coverage shall apply for any condition resulting from activities related to racing, breeding,
        law enforcement, guarding or for any commercial use.
   d. We will not make any payments for any claims for which you are entitled to be paid under any other insurance
      except for any additional sum which is payable over and above such other insurance.


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III. GENERAL CONDITIONS
   1) Premium is payable monthly by Direct Debit or by charge to your credit card, according to the option selected by you
      on the application. This policy is continued until cancelled, and will renew automatically each month as long as
      premium payments are current. When you have not paid the premium, we may cancel this policy. We will let you
      know at least twenty (20) days before the date cancellation takes effect. No coverage will be provided for any claim
      with a date of veterinary treatment between the premium due date and the cancellation date, unless the premium
      payments are current.
   2) You may cancel your policy by notifying us in writing via regular mail, fax or email at least fourteen (14) days in
      advance of your next premium payment.
   3) You must be the owner of the pet(s). If the pet owner dies, becomes unable to care for the insured pet(s), or passes
      the ownership of the insured pet(s), the coverage will continue without interruption, if approved in writing by us,
      subject to all other terms and conditions of this policy.
   4) A pet is covered under this policy only while the pet is in the United States of America, or temporarily away in
      Canada.
   5) You must agree to implement all reasonable means possible in the care and protection of your pet. You further
      agree to protect the pet from aggravation and/or recurrence of the injury and/or illness after occurrence.
   6) This coverage is not transferable to other pets. All new pets are subject to a new application and your monthly
      payment will increase.
   7) You are entitled to increase your pet’s deductible level and/or increase your pet’s coinsurance amount at any
      time. This request must be made in writing and will become effective the month following approval by us. You may
      apply to lower your pet’s deductible level and/or decrease your pet’s coinsurance amount provided that your pet
      has not previously filed a claim with us. This request must be in writing and will become effective the month following
      approval by us.
   8) Notice of loss must be given by either you or your agent.
   9) The loss is payable within sixty days after completion of the claim form, unless applicable state law provides for a
      shorter period.
   10) In order to process a claim, you must allow us to contact your present and previous veterinarian(s) and provide us
       with the necessary authority to obtain any information we may require. In the event information relating to the history
       of the pet is missing or incomplete, the claim will not be processed. You must also agree to submit the pet to
       examination, if we require, by a veterinarian we select.
   11) In the event of any disagreement between you and us with regards to a claim, the matter will be referred to our
       veterinarian. If the matter is not resolved, an independent third party veterinarian shall be appointed by us. This
       independent third party veterinarian’s decision shall be final and binding on all parties.
   12) Every action or proceeding against us for the recovery of any claim under or by virtue of this contract is absolutely
       barred unless commenced within one year after the loss or damage occurs or unless state law requires a longer
       period.



IV. ADDITIONAL CONDITIONS
   1) MISREPRESENTATION AND FRAUD – This policy will be voided if you have concealed or misrepresented any
      material fact or circumstance concerning this insurance or the pet(s) covered. We do not provide coverage, for an
      insured who has intentionally concealed or misrepresented any such facts or circumstances before or after a loss.
   2) CANCELLATION
       a. We may cancel this policy if we do not receive a monthly premium from you when the premium is due. In such a
          case a written notice will be sent to you at your last email address known to us. We will provide at least (20) days


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          notice of our intent to cancel. The notice will be in accordance with the provisions of III. GENERAL CONDITIONS
          1). Otherwise, we may cancel this policy by providing you at least ninety (90) days written notice.
      b. You may cancel this policy at any time by notifying us in writing via regular mail, fax or email. This is in
         accordance with the provisions of III. GENERAL CONDITIONS 2).
  3) STATE LAW – When this policy’s provisions are in conflict with the statutes of the state in which this policy is
     issued, the provisions are amended to conform to such statutes.
  4) ENTIRE CONTRACT – This policy, the Declarations Page, and any attached endorsement contain all the
     agreements between you and us.
  5) FREE LOOK PERIOD - If you are not satisfied with this policy within thirty (30) days of the Policy Effective Date, you
     may cancel your insurance. We will refund your premium in full, as long as you have not submitted a claim.


V. DEFINITIONS
  The following defined words or phrases in the policy are printed in bold type and have the following meanings, unless a
  different meaning is described in a particular coverage or endorsement.
  1) Accident. An unexpected and unintended event causing injury to your pet.
  2) Clinical Examination. A thorough examination performed by a licensed and registered veterinarian encompassing
     all body systems of the pet. Examination can also be referred to as “full physical, physical consultation, full
     examination or veterinary examination.”
  3) Clinical Symptoms. Any manifested anomaly in, or deviation from the regular healthy state or function of a pet,
     including behavioral traits. Symptoms include any anomaly that is readily detectible by a thorough and complete
     clinical examination.
  4) Coinsurance. Your portion of the cost of insured veterinary treatment for your pet before any deductible is
     applied. Your pet’s coinsurance amount is shown as “Your Share” on the pet schedule of the declarations page.
  5) Condition. Any manifestations of clinical symptoms consistent with a diagnosis or diagnoses, regardless of the
     number of incidents or areas of the body affected.
  6) Coverage. The insurance protection described in this policy form and on the declarations page.
  7) Coverage Term. A twelve (12) month period that begins with the effective date of coverage and continues for each
     twelve (12) month period thereafter.
  8) Declarations Page. A written document comprising part of this policy, which identifies the insured, the policy
     number, and the insured pet schedule with the coverage options selected and Lifetime Limit provided.
  9) Deductible. The amount you must first pay with respect to the cost of insured veterinary treatment for your pet
     after your pet’s coinsurance portion has been applied.
  10) Dental Health Care. The regular care required to maintain dental hygiene for your pet. This includes brushing,
      scaling, polishing, extractions and reconstructions.
  11) Diagnostic Tests. Tests used to determine the overall health of your pet. Diagnostic tests can be used as a way to
      detect certain abnormalities. It can also validate the current health of your pet, or help to evaluate an older pet more
      thoroughly before problems surface.
  12) Hospitalization. Charges for boarding your pet at a veterinary clinic as required by your veterinarian to deliver
      nursing care, administer medication to or monitor your pet.
  13) Illness. Sickness, disease and any changes to your pet’s normal healthy state; any condition other than your pet’s
      normal healthy state.
  14) Injury(ies). Physical harm or damage to your pet arising from normal activity or an accident.
  15) Medically Necessary. Medical services, supplies or treatments provided by a veterinarian to treat covered pets which are:
      a. consistent with symptoms or diagnosis;


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    b. appropriate and meet generally accepted veterinary practice standards;
    c.   not primarily for the convenience of the pet parent, your veterinarian or other providers; and
    d. consistent with the most appropriate supply or level of services which can safely be provided to the pet.
16) Medication. Any veterinary recommended medications prescribed by your veterinarian and approved by the Food
    and Drug Administration (FDA) for veterinary use.
17) Neutering. Orchidectomy, or surgical removal of the testicles.
18) Pet or Pets. A domestic cat or dog that is owned for companionship or as a help dog, not owned for commercial
    reasons. Commercial reasons include, but are not limited to, a racing dog.
19) Pet Parent. The owner of the pet, including owner’s spouse or partner.
20) Pet Policy Effective Date. 12:01 a.m. of the day following the date you enroll your pet, as shown on the pet
    schedule of the declarations page, subject to the waiting periods as defined in II. EXCLUSIONS & LIMITATIONS 1)
    b., 1) c., and 1) d.
21) Pet Schedule. The table shown on the declarations page that identifies the pet policy effective date, policy
    number and coverage options related to a specific insured pet.
22) Policy. The terms and conditions and most recent declarations page that includes any endorsements that apply.
23) Policy Effective Date. 12:01 a.m. of the day following the date Shown in the Declarations, subject to the waiting
    periods as defined in II. EXCLUSIONS & LIMITATIONS 1) b., 1) c., and 1) d.
24) Pre-existing conditions means:
    a. illness or the recurrence of any illness or condition which first occurred or displayed any signs and/or symptoms
       consistent with the stated illness or condition prior to the pet policy effective date;
    b. an injury or recurrence of an injury that occurred prior to the pet policy effective date; or
    c.   any condition or complication resulting from an illness or injury that occurred prior to the pet policy effective
         date.
25) Racing Dog. A dog, which is owned and maintained for the purpose of competing in organized races or speed
    contests.
26) Spaying. Ovariohysterectomy, or resection of the ovaries and uterus.
27) Supplies. Any item that is medically necessary, as determined by the veterinarian, that is safe and effective for its
    intended use, and that omission would adversely affect the insured pet.
28) Surgery (ies). Procedure(s) that treat diseases or injuries by operative manual and instrumental treatment.
29) Vaccination. The administration of an industry-recognized commercial vaccine by a registered licensed veterinarian.
    The vaccine must be in accordance with the manufacturer’s recommendations, following a complete clinical
    examination, for prevention of disease.
30) Veterinarian. A properly licensed and registered veterinarian in active practice in the area where your pet is treated
    or examined. Veterinarian shall not include you or a member of your immediate family.
31) Veterinary Examinations Fees. Fees charged for the professional opinion of a veterinarian. Also referred to as
    consultation, examination, referral, and recheck fees.
32) Veterinary Treatment means:
    a.   X-rays;
    b.   Laboratory and diagnostic tests;
    c.   Medication;
    d.   Surgeries;
    e.   Supplies;

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    f.   Hospitalization;
    g.   Euthanasia; and
    h.   Nursing care;
    provided by a licensed veterinarian and their staff under direct supervision.
33) Working Pets. Any pet involved in activities other than companionship or helping, including, but not limited to, racing,
    breeding, law enforcement, guarding or for other commercial use.
34) Your Pet. The dog or cat named in the pet schedule of the declarations page.




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        — EXHIBIT C —
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        — EXHIBIT D —
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                                                       WESTCHESTER FIRE INSURANCE COMPANY
                                     PET HEALTH INSURANCE POLICY
      Please read your Pet Health Insurance Policy carefully to determine the parties’ rights and duties and what is and
      is not covered. Some provisions in the policy limit or restrict coverage.
      Throughout this policy, the words you and your, refer to the policyholder (Pet Parent) shown in the Declarations
      Page.
      The words we, us and our, refer to the company providing this insurance.
      Words and phrases that appear in bold type have special meaning found in Section V. Definitions.

I.            INSURING AGREEMENT
          We rely on the statements you made in the application. Upon your payment of the premiums when due, we
          will provide coverage as specifically described in this policy for your pet as shown on the declarations
          page.




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          Benefits are subject to terms, conditions, limitations and exclusions of this policy and to your responsibility
          for the coinsurance and deductible. Coverage is in effect at the time and date shown on the declarations
          page subject to the waiting periods described in II. EXCLUSIONS & LIMITATIONS 1) b., 1) c. and 1) d.
                                        PL
          1) WE COVER: Reimbursement of the cost incurred by you for medically necessary veterinary treatment
             recommended by your veterinarian for conditions covered by this policy. These costs will be covered
             when your pet:
              a. develops an illness, or
              b. has an injury as a result of an accident;
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              during the coverage term.
              This policy shall not cover amounts charged by the treating veterinary clinic that are greater than the
              treating veterinary clinic’s standard or published charges.
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          2) LIFETIME LIMIT: The maximum amount you may claim while coverage is in force with respect to any
             one pet for veterinary treatment over the lifetime of that pet. The Lifetime Limit is shown on the
             declarations page. Subject to the maximum lifetime limit, there are no limits per claim or per year.
          3) COINSURANCE: The portion you are required to pay for your pet’s veterinary treatment. Your pet’s
             coinsurance amount is shown on the pet schedule of the declarations page.
          4) DEDUCTIBLE: Your pet’s deductible is shown on the pet schedule of the declarations page. Your
             pet’s deductible shall apply once per coverage term.
          5) MONTHLY PREMIUM: Your monthly premium is set forth on your declarations page. Monthly
             premiums may change for all policyholders to reflect changes in the costs of veterinary medicine. We will
             notify you at least sixty (60) days in advance of such change.
          6) CHANGES TO YOUR COVERAGE: Your coverage, coinsurance, and deductible will not change due
             to your pet’s claims experience.

II.           EXCLUSIONS & LIMITATIONS
          1) GENERAL EXCLUSIONS
              We do not cover:
              a. Veterinary examination fees.




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        b. Injury from an accident that occurs within the first fifteen (15) days following the pet policy effective
           date.
        c.   Illness that occurs or recurs within the first fifteen (15) days following the pet policy effective date.
        d. Illness related to hip dysplasia that occurs or recurs within the first twelve (12) months following the
           pet policy effective date.
        e. Conditions or complications that result from accidents that occur or illnesses that develop or
           redevelop within the first fifteen (15) days following the pet policy effective date.
    2) PRE-EXISTING CONDITIONS
        We do not cover pre-existing conditions.
    3) PREVENTIVE CARE EXCLUSIONS
        We do not cover:
        a. Spaying and neutering.
        b. Preventive healthcare including vaccinations or titer test, flea control, heartworm medication, de-
           worming, nail trim, and grooming.




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        c.   Parasite control including but not limited to internal and external parasites for which readily available
             prophylactic treatments are available.
        d. Dental health care, however if injury to teeth is caused by an accident, we do cover the cost of
                                    PL
           extraction and/or reconstruction of damaged teeth.
        e. Anal gland expression.
    4) OTHER EXCLUSIONS
        We do not reimburse the costs, fees or expenses associated with:
        a. Injury or illness due to any intentional, neglectful or preventable act, including organized dog
                                   M
           fighting, by you or a member of your household;
        b. Elective procedures, cosmetic procedures, preventive procedures including but not limited to:
             1. tail docking;
                SA


             2. ear cropping;
             3. de-clawing;
             4. micro-chipping;
             5. dew claw removal; or
             6. ear cleaning;
        c.   Boarding or transport expenses;
        d. Conditions arising from a specific activity if the same or a similar activity occurred prior to the pet
           policy effective date and displayed the propensity for the activity to recur and cause injury or
           illness to your pet;
        e. Future treatment for injury or conditions of a leg when cruciate ligament problems to any other leg
           existing prior to the pet policy effective date, have been identified, regardless of whether or not the
           new signs or symptoms are related to such cruciate ligament problems;
        f.   Diseases preventable by vaccines and prophylactic medications (such as heartworm, lice, internal
             parasites and fleas);
        g. Complications of conditions excluded or limited by this policy;




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               h. Abnormalities where clinical symptoms were apparent prior to the pet policy effective date. This
                  includes conditions that are detectable by a routine physical exam by your veterinarian;
               i.   Claims in any way arising from the lack of use and/or implementation of preventive healthcare
                    products and/or methods when such products and/or methods would be in accordance with generally
                    accepted veterinary standards. Routine healthcare includes: vaccinations, flea control, heartworm
                    medication, de-worming, dental care, ear plucking, grooming, and prudent regular care;
               j.   Special diets, foods, vitamins, grooming, nail trims, shampoo and bathing;
               k.   Any claim for loss from a nuclear incident as defined in the Nuclear Liability Act, nuclear explosion or
                    contamination by radioactive material;
               l.   Conditions arising from any specific activity if the same or similar activity occurs after you have
                    received written notice from us regarding the specific activity;
               m. Experimental or investigational treatment or medicine;
               n. Breeding or conditions relating to breeding, whelping, and queening;
               o. Diagnostic tests for conditions excluded by this policy;
               p. Diagnostic tests due to complications of conditions excluded or limited by this policy;




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               q. Conditions caused by war or war activities whether war be declared or not. War activities include
                  civil war, insurrection, rebellion, or revolution or any act or condition incident of any of the foregoing;
               r.   Feeding, housing or exercise;
                                          PL
               s.   Training, therapy, medications or other methods or forms of behavioral modification;
               t.   Shipping or mailing costs unless associated with a covered compounded medication or diagnostic
                    tests.
           5) LIMITATIONS
                                         M
               a. A pet less than six (6) years of age on the date of enrollment must have undergone a complete
                  clinical examination. The exam must have taken place either in the twelve (12) months prior to the
                  pet policy effective date, or within fifteen (15) days following the pet policy effective date. A pet
                  six (6) years of age or greater on the date of enrollment must have undergone a complete clinical
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                  examination within thirty (30) days prior to the pet policy effective date, or within fifteen (15) days
                  following the pet policy effective date. Your failure to submit your pet to a complete clinical
                  examination may void the policy. If the policy is voided, the policy premium will be refunded.
               b. For pets six (6) years of age or greater on the date of enrollment, no coverage shall apply for illness
                  related to hip dysplasia.
               c.   For working pets, no coverage shall apply for any condition resulting from activities related to
                    racing, breeding, law enforcement, guarding or for any commercial use.
               d. We will not make any payments for any claims for which you are entitled to be paid under any other
                  insurance except for any additional sum which is payable over and above such other insurance.

III.           GENERAL CONDITIONS
           1) Premium is payable monthly by Direct Debit or by charge to your credit card, according to the option
              selected by you on the application. This policy is continued until cancelled, and will renew automatically
              each month as long as premium payments are current. When you have not paid the premium, we may
              cancel this policy. We will let you know at least twenty (20) days before the date cancellation takes
              effect. No coverage will be provided for any claim with a date of veterinary treatment between the
              premium due date and the cancellation date, unless the premium payments are current.
           2) You may cancel your policy by notifying us in writing via regular mail, fax or email at least fourteen (14)
              days in advance of your next premium payment.




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          3) You must be the owner of each pet shown on the pet schedule. If the pet owner dies, becomes unable
             to care for any insured pet, or passes the ownership of any insured pet, the coverage will continue
             without interruption, if approved in writing by us, subject to all other terms and conditions of this policy.
          4) A pet is covered under this policy only while the pet is in the United States of America, or temporarily
             away in Canada.
          5) You must agree to implement all reasonable means possible in the care and protection of your pet. You
             further agree to protect your pet from aggravation or recurrence of the injury /or illness.
          6) This coverage is not transferable to other pets. All new pets are subject to a new application and your
             monthly payment will increase.
          7) You are entitled to increase the deductible or coinsurance amount applicable to your pet at any time.
             This request must be made in writing and will become effective the month following approval by us. You
             may apply to lower the deductible or coinsurance amount applicable to your pet provided you have not
             previously filed a claim with us for that pet. This request must be in writing and will become effective the
             month following approval by us.
          8) Notice of loss must be given by either you or your agent.
          9) The loss is payable within sixty days after completion of the claim form, unless applicable state law
             provides for a shorter period.




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          10) In order to process a claim, you must allow us to contact your present and previous veterinarian(s) and
              provide us with the necessary authority to obtain any information we may require. In the event
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              information relating to the history of the pet is missing or incomplete, the claim will not be processed. You
              must also agree to submit the pet to examination, if we require, by a veterinarian selected by us.
          11) In the event of any disagreement between you and us with regard to a claim, the matter will be referred
              to a veterinarian of ours. If the matter is not resolved, an independent third party veterinarian shall be
              appointed by us. This independent third party veterinarian’s decision shall be final and binding on all
              parties.
                                        M
          12) Every action or proceeding against us for the recovery of any claim under or by virtue of this contract is
              absolutely barred unless commenced within one year after the loss or damage occurs or unless state law
              requires a longer period.
                     SA


IV.           ADDITIONAL CONDITIONS
          1) MISREPRESENTATION AND FRAUD – This policy will be voided if you have concealed or
             misrepresented any material fact or circumstance concerning this insurance or the pet covered. We do
             not provide coverage, for an insured who has intentionally concealed or misrepresented any such facts
             or circumstances before or after a loss.
          2) CANCELLATION
              a. We may cancel this policy if we do not receive a monthly premium from you when the premium is
                 due. In such a case a written notice will be sent to you at your last email address known to us. We
                 will provide at least (20) days notice of our intent to cancel. The notice will be in accordance with the
                 provisions of III. GENERAL CONDITIONS 1). Otherwise, we may cancel this policy by providing you
                 at least ninety (90) days written notice.
              b. You may cancel this policy at any time by notifying us in writing via regular mail, fax or email. This is
                 in accordance with the provisions of III. GENERAL CONDITIONS 2).
          3) STATE LAW – When this policy’s provisions are in conflict with the statutes of the state in which this
             policy is issued, the provisions are amended to conform to such statutes.
          4) ENTIRE CONTRACT – This policy, the declarations page, and any attached endorsement constitutes
             the entire agreement between you and us.




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     5) FREE LOOK PERIOD - If you are not satisfied with this policy within thirty (30) days of the Policy Effective
        Date, you may cancel your insurance. We will refund your premium in full, as long as you have not submitted
        a claim.

V.       DEFINITIONS
     The following defined words or phrases in the policy are printed in bold type and have the following
     meanings, unless a different meaning is described in a particular coverage or endorsement.
     1) Accident. An unexpected and unintended event.
     2) Clinical Examination. A thorough examination performed by a licensed and registered veterinarian
        encompassing all body systems of the pet. Examination can also be referred to as “full physical, physical
        consultation, full examination or veterinary examination.”
     3) Clinical Symptoms. Any manifested anomaly in, or deviation from the regular healthy state or function of
        a pet, including behavioral traits. Clinical Symptoms include any anomaly that is readily detectible by a
        thorough and complete clinical examination.
     4) Coinsurance. Your portion of the cost of insured veterinary treatment for your pet before any
        deductible is applied. Your pet’s coinsurance amount is shown as “Your Share” on the pet schedule of
        the declarations page.




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     5) Condition. Any manifestations of clinical symptoms consistent with a diagnosis or diagnoses,
        regardless of the number of such symptoms or areas of the body affected.
                                     PL
     6) Coverage. The insurance protection described in this policy form and on the declarations page.
     7) Coverage Term. A twelve (12) month period that begins with the effective date of coverage and
        continues for each twelve (12) month period thereafter.
     8) Declarations Page. A written document comprising part of this policy, which identifies the insured, the
        policy number, and the insured pet schedule with the coverage options selected and Lifetime Limit
        provided.
                                    M
     9) Deductible. The amount you must first pay with respect to the cost of insured veterinary treatment for
        your pet after your pet’s coinsurance portion has been applied.
     10) Dental Health Care. The care required to maintain dental hygiene for your pet. This includes cleaning,
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         brushing, scaling, polishing, extractions and reconstructions.
     11) Diagnostic Tests. Tests used to determine the overall health of your pet. Diagnostic tests can be used
         as a way to detect certain abnormalities. It can also validate the current health of your pet, or help to
         evaluate an older pet more thoroughly before problems surface.
     12) Hospitalization. Charges for boarding your pet at a veterinary clinic as required by your veterinarian to
         deliver nursing care, administer medication to or monitor your pet.
     13) Illness. Sickness, disease or any other changes to your pet’s normal healthy state; or any condition
         other than your pet’s normal healthy state.
     14) Injury or Injuries. Physical harm or damage to your pet arising from normal activity or an accident.
     15) Medically Necessary. Medical services, supplies or treatments provided by a veterinarian to treat covered
         pets which are:
         a. consistent with symptoms or diagnosis;
         b. appropriate and meet generally accepted veterinary practice standards;
         c.   not primarily for the convenience of the pet parent, your veterinarian or other providers; and
         d. consistent with the most appropriate supply or level of services which can safely be provided to the pet.
     16) Medication. Any veterinary recommended medications prescribed by your veterinarian and approved
         by the Food and Drug Administration (FDA) for veterinary use.



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    17) Neutering. Orchiectomy, or surgical removal of the testicles.
    18) Pet or Pets. A domestic cat or dog that is owned for companionship or as a help dog. Pet or Pets do not
        include a domestic cat or dog that is involved in activities other than companionship or helping, including,
        but not limited to, racing, breeding, law enforcement, guarding or commercial activities.
    19) Pet Parent. The owner of the pet, including owner’s spouse or partner.
    20) Pet Policy Effective Date. 12:01 a.m. of the day following the date you enroll your pet, as shown on the
        pet schedule of the declarations page, subject to the waiting periods as defined in II. EXCLUSIONS &
        LIMITATIONS 1) b., 1) c., and 1) d.
    21) Pet Schedule. The table shown on the declarations page that identifies the pet policy effective date,
        policy number and coverage options related to a specific insured pet.
    22) Policy. The terms and conditions and most recent declarations page that includes any endorsements that
        apply.
    23) Policy Effective Date. 12:01 a.m. of the day following the date Shown in the Declarations, subject to the
        waiting periods as defined in II. EXCLUSIONS & LIMITATIONS 1) b., 1) c., and 1) d.
    24) Pre-existing conditions means:




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        a. Illness or condition which developed or redeveloped prior to the pet policy effective date;
        b. an injury, or recurrence of an injury, as a result of an accident that occurred prior to the pet policy
           effective date; or      PL
        c.   any condition or complication resulting from an illness that developed, or any injury as a result of
             an accident that occurred prior to the pet policy effective date.
    25) Spaying. Ovariohysterectomy, or resection of the ovaries and uterus.
    26) Supplies. Any item that is medically necessary, as determined by the veterinarian, that is safe and
        effective for its intended use, and that omission would adversely affect the insured pet.
                                  M
    27) Surgery or Surgeries. Any procedure that treats diseases or injuries by operative manual and
        instrumental treatment.
    28) Vaccination. The administration of an industry-recognized commercial vaccine by a registered licensed
        veterinarian. The vaccine must be in accordance with the manufacturer’s recommendations, following a
               SA


        complete clinical examination, for prevention of disease.
    29) Veterinarian. A properly licensed and registered veterinarian in active practice in the area where the pet
        is treated or examined. Veterinarian shall not include you or a member of your immediate family.
    30) Veterinary Examinations Fees. Fees charged for the professional opinion of a veterinarian. Also
        referred to as consultation, examination, referral, and recheck fees.
    31) Veterinary Treatment means:
        a. X-rays;
        b. Laboratory and diagnostic tests;
        c.   Medication;
        d. Surgeries;
        e. Supplies;
        f.   Hospitalization;
        g. Euthanasia; and
        h. Nursing care;
        provided by a licensed veterinarian and their staff under direct supervision.



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    32) Waiting Periods. 15 days from the Pet Policy Effective Date for accidents and illness and 12 months
        from the Pet Policy Effective Date for illness related to hip dysplasia.
    33) Working Pets. Any pet involved in activities other than companionship or helping, including, but not
        limited to, racing, breeding, law enforcement, guarding or for other commercial use.
    34) Your Pet. The dog or cat named in the pet schedule of the declarations page.




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